

	
	
	
	Supreme Court of Georgia




		
		
		
		
				

		
		
		
		
		

									
									
		





























		

		
	

	


				
		
		
			
				
					

	
							
				HomeFAQContact UsTwitter			
			


 
	
		
							
			

						
			

			
					
		

			
					
	

									
							
		
		
		
			
			
					
	
	
		
			Court InformationCourtClerk’s OfficeDirectionsHolidaysHistoryToursMediaPurchase Certificates, Opinions and DVD’sArchived Oral ArgumentsEmployment OpportunitiesNews and ReportsBiographiesChief Justice P. Harris HinesPresiding Justice Harold D. MeltonJustice Robert BenhamJustice Carol W. HunsteinJustice David E. NahmiasJustice Keith R. BlackwellJustice Michael P. BoggsJustice Nels S.D. PetersonJustice Britt C. GrantCertificates &amp; ReportsLaw School Graduate CertificateReciprocity/Court of Last Resort CertificatesLegal Education Committee ReportQuick LinksAttorney AdmissionsDomestic Relations CasesLegal WebsitesPauper’s AffidavitOral Argument Calendar2018 Summaries of Cases2017 Summaries of Cases2016 Summaries of CasesDocketGranted and Denied Petitions2018 Granted2018 Denied2017 Granted2017 Denied2016 Granted2016 DeniedGranted Applications2018 Interlocutory2017 Interlocutory2016 Rule 34 (4) Discretionary2016 InterlocutoryOpinionsForthcoming Opinions2018 Opinions2017 Opinions2016 OpinionsRulese-fileRule 3.15 Form


																
	
 
				
				
			
					
		
		
					
				
		
							
		
						
			

					
			
			
			Home		
	
			
			
				Sam Harry			
		
	
			
			2017-10-30T10:04:28+00:00		
	
						
				
					
						


	
	
	
		
		
		

		
		 

		
		Live Oral Arguments
 

		
		View live oral arguments  May 9, 2018. 
	
	
	
		
		
		

		
		 

		
		Potential Traffic Near Judicial Building 

		
		On Monday, May 7th GDOT will begin demolition and reconstruction of the Courtland Street Bridge.  Courtland Street will be closed from Gilmer Street to Martin Luther King, Jr. Drive. Vehicular traffic will be redirected around the construction site.   
	
	
	
		
		
		

		
		 

		
		Welcome to the  Supreme Court of Georgia. 

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
	
	
	
		
		
		

		
		 

		
		Justices' Biographies 

		
		Read about the Justices of the Supreme Court of Georgia. 
	
	
	
		
		
		

		
		 

		
		Oral Arguments
 

		
		View oral arguments from the current Court term. 
	
	
	
		
		
		

		
		 

		
		Opinions 

		
		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
		Court History
 

		
		Learn about the history of the Supreme Court of Georgia. 
	


	

		
		
				

					
				
					
						
Oral Argument Calendar


					
				
					
						
Docket Search



					
				
					
						
e-file


					
				
					
						
Media


					
				
							
												
	
					
				  
			  
			
			
			
										
				
						
	
		
			
				
																									
							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
Directions
																					
																										
							Quick LinksForthcoming Opinions
Docket Search
Archived Oral Arguments
Media
Purchase
Rule 3.15 Form
																					
																										
							Oral Argument CalendarCurrent Monthmay 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				09may10:00 am4:30 pmOral ArgumentsOral Arguments
									
										Cobb County Superior Court Ceremonial Courtroom
										
											70 Haynes St, Marietta, GA 30090
										
				21may10:00 am12:00 pmOral ArgumentsOral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				22may10:00 am4:30 pmOral Argumentsjune 2018Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				04jun10:00 am1:00 pmOral ArgumentsView Full Calendar
																					
																										
											News and Reports		
											
					5/8/18 – Justice Robert Benham to give keynote address May 19 at UGA law school commencement.
									
											
					5/4/18 – Please note potential traffic issues near the Judicial Building
									
											
					5/2/18 – JUDGE SCARLETT TO HEAR GEORGIA SUPREME COURT CASE
									
											
					5/2/18 – JUDGE FLOURNOY TO HEAR GEORGIA SUPREME COURT CASE
									
					
		View All News and Reports
																					
																											
				
			 
		 
	 

	
	
		
			

				
		
		© 2018 Supreme Court of Georgia All Rights Reserved | Privacy | E-Verify ID	


			 
		 
	 
				 
			
								 

								

						
						
							
								
																			
							
								
									X
									 
								
														
						
					
					







































































































































	
